Case 1:96-cV-OO437-W.]-LCS Document 54 Filed 11/26/01 Page 1 of 1

IN THE DIS'I'RICT COURT OF THE UNTI'ED STATES(:' H f" D

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FOR THE DISTRJCT oF NEW MEXICO .

 

UNITED sTATES oF AMERICA, ) 01 tth 26 PH 3= 2|
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Plamtlf`f, § x {f&£, f.:.j{'::_.'.',?, / 123 121
vs_ ) 'cIvlL No 96-0437 HP/JHG ’ ~UE
DIAMOND BAR CATTLE co., et al., §
Defendants. §
SATISFACHON oF JUDGMENT

 

The United States of America acknowledges satisfaction of judgment entered on
April 3, 1997, and that the Defendants, Diamond Bar Cattle Company and Laney Cattle
Company, by Sherry Laney, have satisfied the judgment debt entered in the above-captioned and
numbered action

A Transcript of Judgment Docket was recorded in the records of the County
Clerk of Sierra County, New Mexieo, on April 27“', 1998, in Book 59, Pages 323-324 of

Miscellaneous Records, Document 01705. The lien created thereby is released

 

Assistant U. S. Attorney

P. O. Box 607

Albuquerque, New Mexico 87103
(505) 224-1413/224-1449

BY CERT]FY that true copy f the foregoing pleading was provided to Kit and Sherry
exico 87943 this day of November, 2001_

  
   

 

Assistant . S. Attorney

